                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

MICHAEL POSTAWKO, et al.,                            )
                                                     )
                       Plaintiffs,                   )
                                                     )
       v.                                            )       No. 16-CV-4219-NKL
                                                     )
MISSOURI DEPARTMENT OF                               )
CORRECTIONS, et al.,                                 )
                                                     )
                       Defendants                    )

                       JOINT STATUS REPORT ON SETTLEMENT

       The parties through their respective counsel provide the following joint status report on the

finalization of settlement paperwork:

       1.      The parties have reached a settlement of the class-wide and individual claims in

this lawsuit. See Doc. 445, 448. During a teleconference with the Court on July 22, 2020, Plaintiffs

informed the Court that one named plaintiff had signed the settlement agreement and counsel were

in the process of obtaining a signed agreement from the other named plaintiff, who is incarcerated

out of state. Due to logistical challenges, scheduling a confidential legal call with that plaintiff

required intervention by this Court. See Doc. 451, 452. Although the July 22 minute entry reflects

Plaintiffs’ expectation that they would have settlement papers fully executed during or before the

first week of August, the aforementioned logistical issues in connecting with the out-of-state

plaintiff caused further unanticipated delay.

       2.      Following entry of the July 28, 2020 sealed order by this Court, Plaintiffs’ counsel

were able to speak with the named plaintiff. On August 8, he informed counsel that he had signed

the settlement agreement and placed it in the mail to Plaintiffs’ counsel.




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         Case 2:16-cv-04219-NKL Document 453 Filed 08/10/20 Page 1 of 4
        3.     Upon receipt of the signed settlement agreement, Plaintiffs will send signed copies

of the class and individual agreements to Defendants Corizon and Missouri Department of

Corrections for their signatures.

        4.     The parties will file a motion for preliminary approval of settlement once the

settlement paperwork has been fully executed. As previously discussed with the Court, Defendants

wish to have the class and individual settlement agreements fully executed before filing the motion

for preliminary approval. The parties anticipate that motion will be filed on or before August 18,

2020.

Respectfully submitted,

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         Case 2:16-cv-04219-NKL Document 453 Filed 08/10/20 Page 2 of 4
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         Case 2:16-cv-04219-NKL Document 453 Filed 08/10/20 Page 3 of 4
                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 10th day of August, 2020, a true and correct copy of the

foregoing document was electronically filed using the Court’s online case filing system, which

will send notice to all counsel of record.

                                             By: /s/ Amy E. Breihan




                                                                                            4
         Case 2:16-cv-04219-NKL Document 453 Filed 08/10/20 Page 4 of 4
